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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

DAWN STAPLETON, as personal                   §
Representative of the Estate of Joshua        §
Stapleton, and Jacqueline Louise              §
Stapleton                                     §
       Plaintiffs                             §
                                              §
VS.                                           §       CIVIL ACTION NO. 7:23-cv-00069
                                              §
ERNESTO LOZANO, JUSTIN LEE                    §
BECERRA, CESAR SOLIS AND                      §
THE CITY OF PROGRESO, TX                      §
et. al                                        §              JURY TRIAL DEMANDED
       Defendants                             §


               PLAINTIFF’S FIRST AMENDED ORIGINAL COMPLAINT

THE CLAIM: Defendants Ernesto Lozano, Justin Lee Becerra, Cesar Solis, and the City of Pro-
greso, TX violated the individual constitutional rights of Mr. Joshua Stapleton under the Four-
teenth Amendment to the United States Constitution when they ignored his serious medical needs
and refused to treat his serious medical needs as he lay doubled over on the floor of a holding cell
in the Progreso City Jail. This deprivation was caused by City of Progreso policies, customs, and
practices wherein Defendants individually and collectively allow officers to leave (or left) inmates
unattended when responding to calls in locations other than the police station; allow the inmates
in Progreso City Jail custody to be potentially supervised by the City of Progreso Fire Department;
arrest drivers suspected of DWI (driving while intoxicated) with PI (public intoxication) instead,
so the City could reap the revenue borne from those arrests rather than transporting them to the
Hidalgo County Jail; and in failing to check on inmates at least once each hour and ensuring their
safety and health. This failure resulted in Mr. Stapleton’s agonizing and untimely expiration. Mr.
Stapleton’s injuries resulted directly and only from this clearly unconstitutional deprivation.




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TO THIS HONORABLE COURT:

          NOW COMES DAWN STAPLETON as the presumed administrator of The Estate of
JOSHUA STAPLETON and JACQUELINE LOUISE STAPLETON, individually (hereinafter re-
ferred to as “Plaintiffs”), complaining of Defendants CITY OF PROGRESO, TEXAS (hereinafter
referred to as “City”), TEXAS and ERNESTO LOZANO (hereinafter referred to as “Lozano”),
JUSTIN LEE BECERRA (hereinafter referred to as “Becerra”), and CESAR SOLIS (hereinafter
referred to as “Solis”), in their individual capacities, hereinafter may also be called, jointly, “Indi-
vidual Defendants,” and for cause of action, would respectfully show unto the Court and jury the
following:


    I.     REQUEST PURSUANT TO RULE 28 FOR SUBSTITUTION OF TRUE NAME

          To the extent that the above-named Defendants and Parties are conducting business pur-

suant to a trade name or assumed name, then relief is sought against them pursuant to the terms

of Rule 28 of the Texas Rules of Civil Procedure, and Plaintiff hereby demands upon answering

this suit, that the Defendants and Parties answer in their correct legal and assumed names.



                                  II.    NATURE OF THE CASE


1. This is an action brought by Plaintiffs pursuant to 42 U.S.C. § 1983 against the City of Pro-
   greso, TX, and Ernesto Lozano, Justin Lee Becerra, and Cesar Solis, individually, in violation
   of the individual rights of Decedent, JOSHUA STAPLETON (hereinafter referred to as “Mr.
   Stapleton”), under the Fourteenth Amendment to the United States Constitution for the De-
   fendants’ deliberate indifference to Mr. Stapleton’s serious medical needs and disregard for
   the serious medical harm Mr. Stapleton stood to and did suffer. The actions alleged herein are
   of such a nature as to shock the conscience and are cruel and unusual in their oppressiveness.
2. This is also a wrongful death action and a survival brought by Plaintiffs pursuant to Texas Civil
   Practice and Remedies Code, Chapter 71, for the wrongful death of Joshua Stapleton and the
   needless suffering he endured during his time incarcerated at the City of Progreso, Texas jail.




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Plaintiffs contend that the City of Progreso, TX had actual notice of Mr. Stapleton’s death, and
thus the notice requirements under Sec. 101.101(a) and (b) are inapplicable in this instance.


                                    III.    PARTIES


3. Decedent JOSHUA STAPLETON (hereinafter “Mr. Thompson”) was an individual being
   held in the custody of the City of Progreso, TX Jail at the time of his expiration and the
   incidents serving as the basis of this lawsuit. Mr. Stapleton was unmarried and a resident
   of Hidalgo County at the time of his death.


   Josh was a beloved brother, son, friend, and family member. He is yet beloved by his family
   and his legacy lives on in all those who knew and loved him.




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4. Plaintiff DAWN STAPLETON, is a resident of Massachusetts and was at the time of the
   incident serving as the basis of this lawsuit. Ms. Stapleton is the biological sister of Dece-
   dent and the personal representative of The Estate of JOSHUA STAPLETON. Ms. Staple-
   ton brings this as a survival action on behalf of Mr. Stapleton per Texas Civil Practice and
   Remedies Code, §71.021.
5. Plaintiff JACQUELINE LOUISE STAPLETON is a resident of Hidalgo County, TX, and
   was at the time of the incident serving as the basis of this lawsuit. Ms. Mitcham is the
   biological mother of Decedent and brings this on behalf of herself and all other wrongful
   death beneficiaries per Texas Civil Practice and Remedies Code, §71.004.
6. Defendant CITY OF PROGRESO, TEXAS is a political subdivision of the State of Texas
   and the City of Progreso Police Department is an agency operated thereunder.
7. The City of Progreso Police Department is funded and operated by the City of Progreso,
   Texas Board of Alderman, which may also be known as the City Council. Mr. Alberto
   Rodriguez is the current Chief of Police for the City of Progreso, TX.
8. Mayor Gerardo Alanis is the chief executive of the City of Progreso, TX. Mr. Alfredo
   Espinosa is the City Manager of the City of Progreso, TX.



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9. Mayor Alanis and/or Mr. Espinosa are responsible for implementing the policies and deci-
   sions of the City of Progreso Board of Aldermen as the City’s primary administrators.
10. Mayor Alanis and the Board of Aldermen are tasked with appropriating, reviewing, and
   implementing the City of Progreso Police Department’s budget, policies, procedures, prac-
   tices, and customs, including the acts and omissions related thereto, at issue in this lawsuit.
11. The City of Progreso Police Department was the sole entity responsible for the incarcera-
   tion, safekeeping, medical treatment, and protection of those housed in the City of Pro-
   greso, TX’s jail at the time of the events at issue in this lawsuit.
12. The City of Progreso, TX may be served by and through Mayor Gerardo Alanis at the
   Progreso City Hall, 300 FM 1015, Progreso, TX 78579, or wherever he may be found.
13. Defendant ERNESTO LOZANO is, on information and belief, a police officer employed
   by the City of Progreso, TX and at all times material herein was a police officer acting in
   the course and scope of his employment for the City of Progreso, TX. He may be served at
   his place of employment at the City of Progreso Police Department located at 810 N. Busi-
   ness FM 1015, Progreso, TX 78579, or wherever he may be found. Defendant Hinojosa is
   being sued in his individual capacity.
14. Defendant JUSTIN LEE BECERRA is, on information and belief, a police officer em-
   ployed by the City of Progreso, TX and at all times material herein was a police officer
   acting in the course and scope of his employment for the City of Progreso, TX. He may be
   served at his place of employment at the City of Progreso Police Department located at 810
   N. Business FM 1015, Progreso, TX 78579, or wherever he may be found. Defendant
   Becerra is being sued in his individual capacity.
15. Defendant CESAR SOLIS is, on information and belief, a police officer employed by the
   City of Progreso, TX and at all times material herein was a police officer (in particular, the
   Chief of Police), acting in the course and scope of his employment for the City of Progreso,
   TX. He may be served at his place of employment at the City of Progreso Police Depart-
   ment located at 810 N. Business FM 1015, Progreso, TX 78579, or wherever he may be
   found. Defendant Hinojosa is being sued in his individual capacity.




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                               IV.     JURISDICTION AND VENUE


      16. The subject matter in controversy and damages sought are within the jurisdictional limits
          of this Court.
      17. This Court has jurisdiction over this suit under 42 U.S.C. §1983 and supplemental juris-
          diction over the state law claims contained therein, as they are so related to claims in the
          action within such original jurisdiction that they form part of the same case or controversy
          under Article III of the United States Constitution. 1
      18. Venue is appropriate in the Southern District of Texas pursuant to 28 U.S.C. §1391 because
          a substantial part of the events or omissions giving rise to the claim occurred in Hidalgo
          County, Texas, which is in the McAllen Division of the Southern District of Texas.


                                 V.      FACTUAL BACKGROUND


      19. The City of Progreso, TX is a city of approximately 6,000 people in the Rio Grande Valley
          of Texas, mere miles from the United States’ border with Mexico. The sole responsibility
          for the protection and supervision of inmates housed in the City of Progreso, TX jail; the
          training and supervision of officers, jailers, and other jail staff; and the administration of
          the City of Progreso, Jail was (and perhaps, still is) vested in the statutory authority of the
          City of Progreso Police Department, an agency under the aegis of the City of Progreso. The
          responsibility and authority for establishing policies, procedures, training, rules, and all
          other customs of the City of Progreso officers, jailers, and employees is vested in Chief
          Alberto Rodriguez, the current Chief of Police, and was previously vested in Mr. Cesar
          Solis, the former Chief of Police, on information and belief, appointed by the Board of
          Aldermen and/or the Mayor the duly appointed Chief of Police of the City of Progreso.


             26 February 2021 Arrest for Public Intoxication or Driving While Intoxicated




1
    28 U.S.C. § 1367.


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    20. At approximately 5:40 PM on the evening of 26 February 2021, Defendant Ernesto Lozano
         conducted a traffic stop on a vehicle for alleged traffic violations in the city limits of the
         City of Progreso, TX.
    21. Officer Lozano arrested the two male subjects in the vehicle, Mr. Joshua Stapleton and
         Mr. Michael Guerrero, without incident. Mr. Stapleton, the driver of the vehicle, was ar-
         rested, on information and belief, on the charge of public intoxication, believed to be up-
         graded to driving while intoxicated after his expiration. Mr. Guerrero was arrested on the
         charge of public intoxication.
    22. During a search of the vehicle incident to the arrest of the two gentlemen, Defendant
         Lozano located what he suspected to be narcotics, ultimately charging both Mr. Stapleton
         and Mr. Guerrero with possession of a controlled substance.
    23. Defendant Lozano then transported both gentlemen to the Progreso Police Department,
         where they were booked in on the charges at approximately 6:30 PM that evening.




                                                 (ILLUSTRATION A) 2



2
  This illustration and all subsequent illustrations have in them file names in which the date and approximate time
are embedded. Any references to time will correlate to the illustrations (e.g. In Illustration A, the pertinent part of
the file name reads 063000PM.avi, which represents 06:00:00PM)(emphasis added).


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24. Upon entry into the Progreso City Jail, Mr. Stapleton, in the presence of Mr. Guerrero,
   informed Defendant Lozano that he was not feeling well. At this juncture, Mr. Stapleton
   received no medical treatment whatsoever.
25. As Mr. Stapleton was being put into the holding cell, he is clearly and visibly swaying and
   slightly unsteady on his feet. He removes his belt and clearly has a dark substance on the
   fingertips of both of his hands.




                                  (ILLUSTRATIONS B-C)




                                                                                             8
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26. During the ensuing minutes, Defendant Lozano comes to the cell on multiple occasions, to
   both speak to and address the gentlemen in the cell and, in one instance, provide them what
   looks like hand sanitizer.




                                     (ILLUSTRATION D)
27. On information and belief, between roughly 7 PM and 8 PM, there is no footage capturing
   Mr. Stapleton or his condition.
28. At 8 PM, Progreso City Jail cameras capture Mr. Stapleton sitting on the floor of the cell.




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                                   (ILLUSTRATION E)
29. Twenty minutes after 8 PM, Defendant Becerra comes to the cell and takes a temperature
   reading from Mr. Stapleton and a gentleman believed to be Mr. Guerrero. In the video, Mr.
   Stapleton is swaying and generally unsteady on his feet.




                                   (ILLUSTRATION F)



                                                                                         10
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30. Following the temperature check, Defendant Lozano escorts a woman to an adjacent hold-
   ing cell before passing back by Mr. Stapleton and observing him seated on the floor of the
   cell.




                                   (ILLUSTRATIONS F-G)


                                                                                          11
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31. Roughly a minute and a half after Defendant Lozano passes by after escorting the woman
   to the adjacent holding cell, Mr. Stapleton begins to fall forward slowly, remaining bent
   over his folded legs for nearly ten minutes time, while slowing rocking back and forth.
32. Eleven minutes or so thereafter, Defendant Becerra escorts two more women to the same
   cell adjacent the cell where Mr. Stapleton was being held, and where he can be seen still
   bent over in distress. The three women — Y.L., C.P., and D.G.G. — then had the tragic
   misfortune of being directly across from Mr. Stapleton as his tragic ordeal began to unfold.




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                                  (ILLUSTRATIONS H-J)


33. Mr. Stapleton then remains in this position for approximately the next hour. Ten or so
   minutes into that hours’ time, Mr. Guerrero, noticing Mr. Stapleton’s distress, removes his
   shirt and drapes it over Mr. Stapleton as a makeshift blanket.




                                 (ILLUSTRATION K)




                                                                                           13
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34. After another sixteen or so minutes pass, Mr. Guerrero walks to the door of the cell and
   appears to be looking for someone (presumably Progreso PD officers) to help his ailing
   friend.




                                      (ILLUSTRATION L)
35. Another twenty-three or so minutes go by, Mr. Guerrero converses with the women in the
   adjacent cell. Once again, he goes to the cell to seek help for his friend, Mr. Stapleton,
   who has now been in this distressed, bent over position for nearly one hour.




                                    (ILLUSTRATION M)




                                                                                                14
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                                   (ILLUSTRATION N)
36. After approximately seventy-one minutes have elapsed since a Progreso PD Officer has
   come to check on the inmates, Mr. Guerrero becomes even more demonstrably con-
   cerned, as he then begins to try and get Mr. Stapleton’s attention, as he is seen touching
   his body and attempting to wake him.




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                                 (ILLUSTRATIONS N-O)
37. Minutes later, the man believed to be Mr. Guerrero then picks Mr. Stapleton up to where
   he is being held up by the man’s hands. Mr. Stapleton appears to be unconscious or other-
   wise unable to hold himself up as he is held up. The women in the adjacent cell are now
   screaming for help for Mr. Stapleton, who is clearly in medical distress.




                                     (ILLUSTRATION P)


                                                                                         16
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38. The three women in the adjacent cell are looking on in shock and horror as Mr. Guerrero
   tries to rouse his friend. While they are screaming, one woman even climbs the bars to
   get a better vantage point to check and see whether Mr. Guerrero’s efforts to rouse Mr.
   Stapleton are proving effective.




                                 (ILLUSTRATIONS Q-R)




                                                                                             17
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39. Finally, after well over an hour has elapsed since a Progreso PD officer has checked on
   the welfare of the inmates, Defendant Lozano enters the video and appears to be dialogu-
   ing with someone over his shoulder-mounted radio.




                                     (ILLUSTRATION S)
40. At approximately 9:55 PM, Defendant Lozano and a gentleman presumed to be a fire-
   fighter or paramedic enter the cell to begin tending to Mr. Stapleton.




                                   (ILLUSTRATION T)


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41. Defendants Lozano and Becerra, two gentlemen presumed to be firefighters/EMTs, and
   an unknown officer all crowd the area, as the paramedics and Defendants Lozano and
   Becerra enter the cell. The firefighters/paramedics appear to be attempting chest com-
   pressions on Mr. Stapleton at this point.




                                     (ILLUSTRATION U)
42. The firefighters/paramedics attempt life-saving chest compressions for several minutes.
   In the midst of their administration of chest compressions, Defendant Becerra administers
   Narcan to Mr. Stapleton. Defendant Solis approaches the cell and appears to be using a
   cell phone.




                                   (ILLUSTRATION V)


                                                                                            19
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43. As the three women in the adjacent cell look on in horror, Weslaco Fire/EMS wheels in a
   gurney, as one of the women excitedly talks to one of the firefighters, who appears to be
   attempting to calm her down.




                                  (ILLUSTRATIONS W-X)
44. As the Weslaco firefighters load Mr. Stapleton onto the gurney to be removed from the
   cell, the three women, now visibly distraught and unnerved, are removed from their cell.




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                                  (ILLUSTRATIONS Y-Z)
45. At approximately 10:09 PM, Mr. Stapleton is wheeled out of the cell on a gurney by
   Weslaco firefighters.




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                                     (ILLUSTRATION AA)
46. Mr. Stapleton was transported to Knapp Medical Center in Weslaco, where the medical
   staff unsuccessfully attempted to save his life, determining that he had experienced car-
   diac failure, circulatory failure, and central nervous system failure. Mr. Stapleton was de-
   termined to have expired some time between 10:44 PM and 10:53 PM, when the critical
   care being administered ceased.
                        Hidalgo County Sheriff’s Office Investigation


47. Within half an hour of Mr. Stapleton’s expiration, the Hidalgo County Sheriff’s Office was
   in the ER at Knapp Medical Center to investigate the circumstances of Mr. Stapleton’s
   death. The HCSO assigned Case No. 21-07070 to the investigation.
48. On 1 March 2021, Investigator Cantu interviewed Defendant Lozano in connection with
   Mr. Stapleton’s death. Mr. Lozano was present with his attorney, Mr. David Willis.




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                                  (ILLUSTRATION BB)
49. Defendant Lozano discusses with Investigator Cantu how he came across Mr. Stapleton’s
   vehicle that evening; the alleged traffic infractions he observed; his contact with Mr. Sta-
   pleton and Mr. Guerrero; and his arrests of Mr. Stapleton and Guerrero.
50. As he was detaining Mr. Stapleton and Mr. Guerrero, Defendant Solis observed Defend-
   ant Lozano conducting the traffic stop and came over to assist him.
51. After arresting Mr. Stapleton and Mr. Guerrero, Defendant Lozano conducted an inven-
   tory search of the vehicle, finding what he suspected to be prescription drugs.
52. Defendant Lozano told Investigator Cantu that he then booked Mr. Stapleton and Mr.
   Guerrero in the Progreso City Jail between 6:15 and 6:30 PM.
53. Defendant Lozano, in response to a question from Investigator Cantu, then explained that
   once a subject is booked in, he — and presumably other Progreso PD officers — then go
   to a room outside of the area of the cells to draft their reports.
54. Investigator Cantu asks specifically what the officers do once placing a subject in a cell.
   He replies that he “usually” goes to start writing his report, and then leaves the station if
   he gets a call.




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55. Investigator Cantu then says, “[If] you get a call, you have to leave?” Defendant Lozano
   replies, “I have to leave.” Investigator Cantu then asks, “But who stays there supervising
   the inmates?”
56. Defendant Lozano shakes his head from side to side to indicate that no one is looking af-
   ter the inmates. Investigator Cantu asks “Nobody?” Defendant Lozano replies, “Maybe
   the fire department’s looking at ‘em.”
57. Investigator Cantu replies, “If they’re there?” Defendant Lozano replies, “Well, they’re
   usually there. They have a TV in their kitchen with cameras.”
58. Defendant Lozano then explains that he got a call for a reckless driver and then assisted
   Chief Solis with a traffic stop.
59. Defendant Lozano then explains that the traffic stop Chief Solis conducted was of three
   women, one of whom was arrested for DWI and the other two of whom were arrested for
   PI. These are the three women — Y.L., C.P., and D.G.G. — who observed Mr. Stapleton
   fighting for his life in cell #2.
60. After that, Defendant Lozano returned to the PD to continue his report, per his statement.
   Investigator Cantu then inquires about the room where Defendant Lozano was drafting
   his report, stating that there’s a computer there where he can “kinda” monitor the inmates
   while drafting.
61. Investigator Cantu asks expressly whether there is sound. Defendant Lozano replies, “No.
   You have to yell.” Investigator Cantu: “If somebody yells from the jail to where you’re
   typing your report, can you hear it?” Defendant Lozano: “You should [be able to].”
62. Cantu then asks what happened next. Defendant Lozano explains that he heard the
   women yelling, saying that Mr. Stapleton had died. He then went into the area of the cells
   and found Mr. Stapleton laying on the floor.
63. Defendant Lozano then radioed EMS. The fire department personnel then began chest
   compressions.
64. Defendant Lozano then explains that Defendant Becerra administered the Narcan.
   Lozano checked Mr. Stapleton’s pulse, not finding one.
65. Defendant Lozano then called Chief Solis to let him know what was going on. Lozano
   also told another officer to take the three women out of their cell.




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                          Autopsy Report & Import Thereof
66. The cause of death, as stated by then- Chief Medical Examiner, Dr. Adel Shaker, was noted
   as “combined drug toxicity,” with the manner of death noted as “undetermined.”
67. Dr. Shaker commissioned a toxicology report – completed by NMS Labs – in connection
   with his autopsy of Mr. Stapleton. That toxicology report indicated that Mr. Stapleton had
   ethyl alcohol (i.e. drinking alcohol), fentanyl, Narcan, Clonazepam, Alprazolam, Dihydro-
   codeine/Hydrocodol, Hydrocodone, Norfentanyl, and Mitragynine in his system at the time
   of his death.




                                  (ILLUSTRATION CC)
68. Several of the substances found in Mr. Stapleton’s blood were seized during the impound
   inventory of the vehicle he was driving, which should have given Defendant Lozano
   good reason to believe Mr. Stapleton had ingested those substances and thus needed to be
   kept under a watchful eye.




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    VI.      POLICY OF MEDICAL CARE RENDERED BY CITY OF PROGRESO JAIL
                                                   STAFF


Progreso City Jail’s Duty Under the Texas Administrative Code and the Texas Commission
                                on Jail Standards Minimum Standards
     69. On information and belief, the City of Progreso, TX is either incorporated as a Type B
          General-Law Municipality or a Home-Rule Municipality under the Texas Local Govern-
          ment Code.
     70. Sec. 361.001 of the Local Government Code, concerning Municipal Jails, only applies to
          municipalities having a population of 17,500 or more. 3 The City of Progreso only had ap-
          proximately 4,900 people according to the 2020 Census. 4
     71. Accordingly, its status as a Type B General-Law municipality or home-rule municipality
          affords it the authority to do anything that is not inconsistent with the Texas Constitution
          and to adopt a city charter. One such power it may exercise is the power to operate a city
          jail.
     72. While the City of Progreso, TX jail is arguably not regulated by the Texas Commission on
          Jail Standards — which promulgates minimum jail standards to be followed as codified in
          the Texas Administrative Code — the requirements of that code are instructive as to what
          is reasonable and unreasonable with respect to the operation of the city jail.
     73. The minimum standards require facilities to have the “appropriate number of jailers at the
          facility 24 hours a day…and an established procedure for documented, face-to-face obser-
          vation of all inmates by jailers no less than once every 60 minutes. 5
     74. The Administrative Code mandates observation at least every 30 minutes where inmates
          are known to be assaulting, potentially suicidal, mentally ill, or who have demonstrated
          bizarre behavior. 6




3
  Tex. Loc. Gov’t Code Ann. §361.001.
4
  https://www.biggestuscities.com/city/progreso-texas.
5
  37 Tex. Admin. Code §275.1 (2020)(emphasis added).
6
  Ibid.


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      75. This section of the Code mandates two-way voice communication capability available to
          inmates and jailers, admonishing that closed-circuit television may be used but not in lieu
          of “the required personal observation.”7
      76. Rule §275.4 concerns staffing requirements, requiring that facilities have a requisite num-
          ber of jailers per specified number of inmates and that the required jailer “shall provide
          documented visual inmate supervision not less than once every 60 minutes.”8


        The Policies, Customs, and/or Practices that Caused the Death of JOSHUA STAPLE-
                                                     TON


      77. Policy No. 1: The City of Progreso, TX had a policy, custom, or practice of allowing its
          officers to leave inmates unattended when responding in locations other than the police
          station. Defendant Ernesto Lozano made the statement concerning this policy, custom, or
          practice during his interview with Hidalgo County Sheriff’s Office Investigator Cantu.
          This policy, custom, and/or practice contributed to the death of JOSHUA STAPLE-
          TON because if the Defendants had not left the police station to respond to other calls,
          thus leaving the inmates unattended, Mr. Stapleton almost assuredly would have got-
          ten medical assistance much faster, which would have saved his life.
      78. Policy No. 2: The City of Progreso, TX had a policy, custom, or practice of allowing the
          inmates in its custody to be potentially supervised by the City of Progreso Fire Department.
          Defendant Ernesto Lozano made the statement concerning this policy, custom, or practice
          during his interview with Hidalgo County Sheriff’s Office Investigator Cantu. This policy,
          custom, and/or practice contributed to the death of JOSHUA STAPLETON because
          when the Progreso PD Officers left to answer other calls, they were not sure whether
          Progreso Fire personnel were in fact monitoring Mr. Stapleton and the others in their
          custody, which led to NO ONE responding to repeated calls for assistance by the
          women in the cell adjacent to Mr. Stapleton.
      79. Policy No. 3: The City of Progreso, TX had a policy, custom, and/or practice of arresting
          drivers suspected of DWI (driving while intoxicated) with PI (public intoxication) instead,


7
    Ibid.
8
    37 Tex. Admin. Code §275.4 (2014).


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   so the City could reap the revenue borne from those arrests rather than transporting them
   to the Hidalgo County Jail. This policy, custom, and/or practice contributed to the
   death of JOSHUA STAPLETON because the jailers are responsible for the safe keep-
   ing of inmates by virtue of the Sheriff’s duty under the Local Government Code: so,
   where medication has not been administered by the medical staff, jailers have an af-
   firmative duty to provide it to the inmates under their supervision.
80. Policy No. 4: The City of Progreso, TX had a policy, custom, and/or practice of not check-
   ing on inmates at least once each hour and ensuring their safety and health. This policy,
   custom, and/or practice contributed to the death of JOSHUA STAPLETON because
   in the over seventy-one minutes where Mr. Stapleton’s health condition rapidly de-
   clined, a single one of the Defendants observing him would have ensured he was ad-
   ministered life-saving treatment, preventing his death.
81. The City of Progreso’s adherence to these policies and decision not to implement a proce-
   dure to ensure round-the-clock supervision of inmates by peace officers constituted an un-
   reasonably high risk for serious injury or death such as that suffered by Mr. Stapleton.


                           Failure to Train or Inadequate Training


82. Defendant City of Progreso, TX is tasked with the training of peace officers acting as jail
   and medical staff in ensuring inmate safety and medical treatment; recognizing the signs
   and symptoms of drug overdose; and ensuring inmates are consistently monitored to ensure
   they have their medical needs met. This Defendant also has the charge of ensuring the
   jailers and medical staff in its employ are able to recognize the signs of a potential drug
   overdose and other major illnesses and acute issues.
83. Defendants Lozano, Becerra, and Solis never once sought to get Mr. Stapleton the medical
   care he desperately needed — which he both requested himself and which was being re-
   quested on his behalf by Mr. Guerrero and the women in the adjacent cell — because they
   were nowhere to be found during the over sixty minutes he was in the throes of his medical
   distress.
84. The training provided Defendants Lozano and Becerra was woefully inadequate and is
   essentially a failure to train them at all. Basic training in the importance of consistent



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        monitoring of inmates would have led them to prioritize the health and safety of the in-
        mates in their custody over responding to outside calls, and especially calls for low-level
        misdemeanors.
    85. The notion that an inmate could have a medical crisis, such as happened here; a violent
        interaction with another inmate; or virtually any other crisis which could cause them death
        or serious bodily injury and be solely on their own in responding to it despite being under
        the aegis of the Progreso Police Department defies logic is grossly imprudent.
    86. This inadequate training, both with respect to Defendants Lozano and Becerra, and the
        promulgation and perpetuation of these policies by Defendant Cesar Solis, was deliberately
        indifferent to the serious medical needs of JOSHUA STAPLETON and was a direct and
        proximate cause of his tragic death.


                                      VII. CAUSES OF ACTION


                                               COUNT ONE
Claims Under 42 U.S.C. § 1983 and the Fourteenth Amendment to the U.S. Constitution as
                                             to all Defendants


    87. Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1-86
        above as though fully delineated below with respect to each cause of action.


                                                Theory of Liability


    88. Plaintiff advances an episodic act or omission theory in the present case.
    89. “When a Plaintiff pursues an episodic-acts-or-omissions theory, [s]he seeks to redress
        harms arising from “the particular act of one or more officials…” 9
    90. “The test for establishing municipal liability in an episodic-act-or-omission case is settled:




9
 Walker v. Pohlmann, 2021 U.S. Dist. LEXIS 116991, at 14 (E.D. La. 2021) (citing Garza v. City of Donna, 922
F.3d 626, 632 (5th Cir. 2019)).


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                      [A] plaintiffs must show (1) that the municipal employee violated [the pre-
                      trial detainee’s] clearly established constitutional rights with subjective de-
                      liberate indifference;…(2) that this violation resulted from a municipal pol-
                      icy or custom adopted and maintained with objective deliberate indiffer-
                      ence[; and (3)] either written policy statements, ordinances, or regulations
                      or a widespread practice that is so…well-settled as to…fairly represent []
                      municipal policy that was the moving force behind the violation.10
       91. Plaintiff contends that she prevails under an episodic act or omission theory, incorporating
            all paragraphs preceding and following this paragraph in proof thereof.


                                      Facts Supporting the Theory of Liability


       92. The Defendants, in combination and individually, acting under color of law and pursuant
            to the policies, customs, and/or practices of the City of Progreso, TX, deprived JOSHUA
            STAPLETON of the rights and privileges afforded him under the Fourteenth Amendment
            to the United States Constitution, as well as those afforded under other laws of the United
            States.
       93. This deprivation occurred when Defendants Lozano, Becerra, Solis, and the City of Pro-
            greso, TX, in combination and individually, failed to provide adequate and proper medical
            treatment to Joshua Stapleton; failed to provide him basic safeguards for his safety and
            safekeeping by keeping at least one peace officer present in the jail while there were in-
            mates in the jail; by failing to protect him and keep him “safely” in the Progreso City Jail,
            and through deliberate indifference to his obvious, serious medical needs.
       94. This deprivation violated 42 U.S.C. § 1983, the stated amendments to the U.S. Constitu-
            tion, and related federal laws.
       95. Through official, unofficial, and statutorily mandated policies, and with deliberate, callous
            and conscious indifference to Mr. Stapleton’s constitutional rights, Defendants, in combi-
            nation and individually, failed to practice and/or implement policies and/or did practice
            and/or implement policies, customs, and/or practices necessary to ensure the provision of



10
     Id., at 25.


                                                                                                        30
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   constitutionally adequate medical services to Mr. Stapleton during the time he was in the
   Progreso City Jail before his death.
96. Defendants, in combination and individually, instead followed, practiced, and imple-
   mented de facto policies, customs, and/or practices that prevented Mr. Stapleton from get-
   ting the medical treatment he needed to avoid succumbing to the combined drug toxicity
   which took his life.
97. Moreover, the conditions complained of and the direct and proximate cause of Mr. Staple-
   ton’s death were not reasonably related to any legitimate governmental objective. There is
   no legitimate governmental objective in failing to keep a single peace officer or jailer in a
   jail with several inmates; in failing to require peace officers or other law enforcement of-
   ficers rather than firefighters and paramedics are actually ensuring the safekeeping of the
   inmates; nor in arresting drivers for PI rather than DWI to avoid taking them to the Hidalgo
   County Jail; and/or in failing to train jailers on the signs and symptoms of drug overdose
   and how to differentiate it from alcohol withdrawal or any other medical issue.
98. The elements of a cause of action under § 1983 against a governmental entity (the City of
   Progreso are as follows:
       a. Plaintiff is deprived of rights under the U.S. Constitution;
       b. Said deprivation is caused by a person acting under color of state law;
       c. The governmental entity adopted, or failed to adopt, a policy statement, ordinance,
           regulation, or decision adopted and promulgated by the governmental entity’s law-
           making officers or by an official to whom the lawmakers delegate law-making au-
           thority or a persistent, widespread practice of officials or employees of the govern-
           mental entity which, though not authorized or officially adopted and promulgated,
           the policy is so common and well settled as to constitute a custom that fairly repre-
           sents policy of the governmental entity; and
       d. The governmental entity was deliberately indifferent to the party’s constitutional
           rights.




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       99. To prove a claim of deliberate indifference, a pretrial detainee is required to show “(1) the
           official was ‘aware of facts from which the inference could be drawn that a substantial risk
           of serious harm exists,’ and (2) the official actually drew that inference.”11
       100.          Deliberate indifference is proven when a plaintiff makes evident that officials “re-
           fused to treat him…or engaged in any similar conduct that would clearly evince a wanton
           disregard for any serious medical needs.” 12
       101.          The “substantial risk” must be obvious in order to infer the official denying medi-
           cal care had actual knowledge of the risk. 13 “Negligent or even a grossly negligent response
           to a substantial risk of harm” is insufficient to support an inference of deliberate indiffer-
           ence.14
       102.          “[A] prison official’s knowledge of a substantial risk of harm may be inferred if the
           risk was obvious.” 15
       103.          A plaintiff may prove the official’s requisite knowledge of a substantial risk in the
           customary manner any other question of fact may be proven, including via inference from
           circumstantial evidence. 16
       104.          Serious medical needs are those needs for which a treatment regimen has been
           recommended or those for which the need for care is so apparent that laymen (i.e., non-
           medical personnel) recognize that treatment is necessary.17
       105.          The facts which substantiate that the elements of § 1983 have been met were pre-
           viously delineated above, however they are summarized below:
                a. Mr. Stapleton told Defendant Lozano, on information and belief, that he did not
                     feel well as he was booked into the jail and/or as he was placed into the holding
                     cell;
                b. Failing to ensure at least one peace officer or jailer was present in the Progreso City
                     Jail at all times;


11
   Dyer v. Houston, 964 F.3d 374, 380 (5th Cir. 2020) (quoting Domino v. Tex. Dep’t of Criminal Justice,
239 F.3d 752, 755 (5th Cir. 2001).
12
   Domino, 239 F.3d at 756 (quoting Johnson v. Treen, 759 F.2d 1236, 1238 (5th Cir. 1985)).
13
   Easter v. Powell, 467 F.3d 459, 463 (5th Cir. 2006).
14
   Thompson v. Upshur Cty., 245 F.3d 447, 458-59 (5th Cir. 2001).
15
     Easter v. Powell, 467 F.3d 459, 463 (5th Cir. 2006).
16
     Farmer v. Brennan, 511 U.S. 825, 842 (1994).
17
     Gobert v. Caldwell, 463 F.3d 339, 345 (5th Cir. 2006).


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       c. Failing to ensure Defendants Lozano, Becerra, and Solis were trained on the recog-
          nition of impending drug overdose and/or associated medical conditions;
       d. Failing to do a visible observation of the inmates for over one hour;
       e. Having a policy, custom, or practice of leaving inmates unattended to answer calls
          outside of the Progreso City Jail/Police Station;
       f. Failing to ensure inmates are actually monitored at all times rather than supposing
          they “may be” monitored by non-law enforcement personnel like firefighters;
       g. Having a policy of arresting drivers for PI rather than DWI to ensure they are
          booked into the City Jail rather than being transported to the Hidalgo County Jail;
          and
       h. Continued such practices of improper policies, customs, and/or practices.
106.      Defendants Lozano, Becerra, and Solis, in combination and as individual defend-
   ants, as applicable, intentionally and with deliberate indifference, deprived Mr. Stapleton
   of his clearly established federal constitutional rights, including but not limited to:
       a. Mr. Stapleton’s right to reasonably safe conditions of confinement;
       b. Mr. Stapleton’s right to receive proper medical services and medications for any
          serious medical conditions; and
       c. Mr. Stapleton’s right to be free from cruel and unusual punishment.
107.      Defendants Lozano, Becerra, and Solis, and the City of Progreso, TX, each had an
   affirmative duty to make sure that Mr. Stapleton received the medical treatment he so des-
   perately needed, yet they all failed to ensure that happened. All of the Defendants’ actions
   far exceeded mere negligence, as the staff was made aware of his medical needs but ne-
   glected to follow reasonable procedures to ensure he received treatment, including merely
   keeping someone present on the premises to even ascertain he needed treatment; at least
   two of the Defendants observed him in medical distress and neither assisted him nor got
   him medical treatment. His serious medical needs were obvious to his cellmate, Mr. Guer-
   rero, as well as to the three women in the adjacent cell who watched as Mr. Stapleton
   agonized for over an hour.
108.      Notwithstanding his obvious needs, each defendant consciously elected not to en-
   sure that Mr. Stapleton received any, let alone adequate, medical treatment.




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109.      Defendants, in combination and individually, directly and proximately caused the
   deprivation of Mr. Stapleton’s rights to due process of law and rights to be free from cruel
   and unusual punishment by subjecting him to confinement without the life-saving medical
   care his body so desperately needed. These dangerous, heinous, and callously agonizing
   conditions resulted in Mr. Stapleton’s death. The actions of the Defendants were singularly,
   or in combination, a legal cause of Mr. Stapleton’s death.
110.      At all times material hereto, the City of Progreso, TX was in control of and opera-
   tion of the Progreso City Jail; the City of Progreso, TX and the individual Defendants’
   mandate to “safely” keep the inmates within the course and scope of their employment and
   in furtherance of the duties of their offices and/or employment.
111.      Mr. Stapleton was in serious need of medical treatment; a fact of which Defendants
   were well aware, as he both told them he needed treatment and was arrested with a myriad
   of controlled substances in his possession and obvious signs of intoxication on display.
   Notwithstanding this knowledge, the Defendants willfully and maliciously refused to get
   Mr. Stapleton medical treatment or even leave a mechanism for him or others to request
   help for over an hour.
112.      The Defendants’ constitutional duty was breached when they failed to provide basic
   human and medical needs to inmates in their custody, acting with deliberate indifference
   and subjective recklessness to Mr. Stapleton’s obvious medical requirements, of which
   they had subjective knowledge.
113.      Non-medically trained individuals – at least four inmates – clearly observed that
   Mr. Stapleton needed medical help.
114.      The Defendants, in combination and individually, made the conscious decision, in
   adherence to the policies, customs, and/or practices of the City of Progreso, TX and/or their
   woefully inadequate training, to fail to provide Mr. Stapleton with medical treatment, as
   required by the United States Constitution.




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                                            COUNT TWO


           Fourth Amendment § 1983 Monell Claim against the City of Progreso, TX

115. Plaintiff incorporates by reference all of the foregoing and further alleges the following:
116. The conduct of Defendants Lozano, Becerra, and Solis constituted deliberate indifference to
Mr. Stapleton’s obvious, serious medical needs.
117. At all material times, Defendants Lozano, Becerra, and Solis acted under color of state law,
as agents of the City of Progreso, Texas.
118. Defendants were acting in the course and scope of their employment as peace officers em-
ployed by the City of Progreso, TX during the time that they failed to supervise the inmates in the
City of Progreso, TX jail and refused to treat Mr. Stapleton’s serious medical needs.
119. Former Chief of Police, Defendant Cesar Solis, was the Defendant City of Progreso, TX’s
policymaker for all matters related to the City of Progreso Police Department, having been dele-
gated the policymaking authority by the City of Progreso Board of Aldermen.
120. Consequently, the City of Progreso, TX had or ratified the following policies, customs, and/or
practices in place when Mr. Stapleton suffered his agonizing and untimely death:
          a. Allowing its officers to leave inmates unattended when responding in locations other
than the police station;
          b. Allowing the inmates in its custody to be potentially supervised by the City of Progreso
Fire Department.;
          c. Arresting drivers suspected of DWI (driving while intoxicated) with PI (public intoxi-
          cation) instead, so the City could reap the revenue borne from those arrests rather than
          transporting them to the Hidalgo County Jail;
          d. not checking on inmates at least once each hour and ensuring their safety and health;
121. Defendant City of Progreso, TX command staff, on information and belief, consistently re-
viewed such policies and found no issue with them. The City of Progreso, TX approved and en-
couraged such conduct, as such conduct was also participated in by the former Chief, its policy-
maker.
122. Defendants Lozano, Becerra, and Solis, in adherence to an in conformity with the above-
listed policies, all of which coalesced to cause the divestiture of Mr. Stapleton’s constitutional
rights.


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123. Former Chief Solis and his command staff were all deliberately indifferent to the natural by-
products of these policies, practices, and/or customs, of which he was aware, authorized, ratified,
accepted, exacerbated, and encouraged, instead of rectifying them and ensuring further civilians
were not hurt by them.
124. Former Chief Solis was actually aware of facts from which any reasonable policymaker
could draw the inference that a substantial risk of serious harm and violation of constitutional
rights existed, and actually drew that inference.
125. Former Chief Solis knew it was clear that a constitutional violation was a very likely out-
come of the ratification, adoption, and promotion of these policies.
126. Former Chief Solis and his command staff knew or should have known that allowing its of-
ficers to leave inmates unattended when responding in locations other than the police station; al-
lowing the inmates in its custody to be potentially supervised by the City of Progreso Fire De-
partment; arresting drivers suspected of DWI (driving while intoxicated) with PI (public intoxi-
cation) instead, so the City could reap the revenue borne from those arrests rather than transport-
ing them to the Hidalgo County Jail; and not checking on inmates at least once each hour and en-
suring their safety and health would cause City of Progreso PD employees to routinely and con-
tinuously violate the constitutional rights of Progreso residents and others with the unfortunate
luck of crossing paths with City of Progreso, TX peace officers. Former Chief Solis continued
operating under these policies in spite of his knowledge of the deficiencies of his training pro-
gram and supervision of peace officers.
127. Each of the policies listed, supra, was actually known, constructively known, and/or ratified
by the City of Progreso and its policymakers, including Former Chief Solis, and was promul-
gated with deliberate indifference to Mr. Stapleton’s rights under the United States Constitution
and the rights of all others making contact with the City of Progreso, TX peace officers. The pol-
icymakers of the City of Progreso, TX PD knew that their officers would continuously be put in
situations wherein constitutional violations like those aforementioned in this complaint would
occur. These policies made it highly likely that such constitutional violations as those previously
described would occur, under color of state law.
128. All previously mentioned policies were a moving force of Mr. Stapleton’s constitutional dep-
rivations and injuries, causing him to lose his life tragically and unnecessarily.




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VIII. THE ESTATE OF JOSHUA STAPLETON AND JACQUELINE LOUISE STAPLE-
       TON’S SURVIVAL STATUTE AND WRONGFUL DEATH DAMAGES


  129.Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1-128
      above as though fully delineated below with respect to each cause of action.
  130. Plaintiff DAWN STAPLETON, as personal representative of the Estate of Joshua Sta-
      pleton, Deceased, brings this suit to recover just compensation for the damages suffered
      as the result of the untimely death of and loss of her brother, Joshua Stapleton, as pro-
      vided for by Texas Civil Practive and Remedies Code § 71.001, et seq., the “Texas
      Wrongful Death Act.” Ms. Dawn Stapleton and Ms. Jacqueline Louise Stapleton are the
      statutory beneficiaries of Joshua Stapleton, who, on information and belief, died without
      a will. Ms. Stapleton and Ms. Mitcham are the surviving sibling and mother, respec-
      tively, of Mr. Stapleton. There is no court-appointed representative of the Estate of
      Joshua Stapleton, there is no pending administration of the Estate of Joshua Stapleton,
      and no administration of the estate is necessary.
  131. As a proximate result of the above acts and/or omissions on the part of Defendants,
      Joshua Stapleton endured an avoidable and agonizing death, dying as a proximate result
      of these acts and/or omissions of Defendants collectively. Ms. Stapleton and Ms.
      Mitcham sue to recover just compensation for Joshua Stapleton’s conscious pain and
      suffering, mental anguish, and reasonable funeral expenses.
  132. As a promixate result of the above acts and omissions of Defendants, Ms. Stapleton and
      Ms. Mitcham have suffered pecuniary loss as a result of the untimely death and loss of
      their brother and son, respectively, including loss of care, maintenance, support, services,
      advice, counsel, and contributions of a pecuniary value that they would in reasonable
      probability have received from Joshua Stapleton during his lifetime, had he lived. Ms.
      Stapleton and Ms. Mitcham have suffered severe trauma, mental depression, anguish,
      grief, and sorrow as a result of the untimely death and loss of their brother and son, re-
      spectively. They have suffered all of these damages in the past and are likely to continue
      to suffer for a long time in the future.
  133. For these losses and the untimely death of Joshua Stapleton, Ms. Stapleton and Ms.
      Mitcham seek damages in a sum in excess of the minimal jurisdictional limits of the



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            Court, both prejudment and post-judgment interest as allowed by law, all costs of Court,
            and all other relief, both in law and in equity, to which they may be justly entitled.


                               IX. QUALIFIED IMMUNITY UNDER § 1983


      134. City Employees may be entitled to qualified immunity as to their individual liability. That
            immunity is waived, however, upon a showing by the Plaintiff that:
                a. The individual’s acts deprived the party of constitutional rights under color of law;
                b. The deprived rights were clearly established, constitutional rights in existence at
                    the time of the acts complained of; and
                c. Such acts were not objectively reasonable under the circumstances, that is, no rea-
                    sonable official could have believed at the time that the conduct was lawful.
      135. Defendants Lozano, Becerra, and Solis, persons acting under color of state law, enforcing
            the policies, customs, and/or practices of the City of Progreso, TX, and/or by their allow-
            ing officers to leave inmates unattended when responding in locations other than the police
            station; allowing the inmates in its custody to be potentially supervised by the City of
            Progreso Fire Department; arresting drivers suspected of DWI (driving while intoxicated)
            with PI (public intoxication) instead, so the City could reap the revenue borne from those
            arrests rather than transporting them to the Hidalgo County Jail; and not checking on in-
            mates at least once each hour and ensuring their safety and health, deprived Mr. Stapleton
            of his civil liberties, without due process of law, by failing to provide him medical treat-
            ment during his incarceration at the Progreso City Jail.
      136. No reasonable official could have believed that failing to provide Mr. Stapleton with his
            needed medical treatment was lawful, let alone humane. “Any reasonable officer should
            have realized that [Mr. Stapleton’s] conditions of confinement offended the Constitu-
            tion.” 18
      137. Defendants Lozano and Becerra, despite both observing obvious signs of his medical
            needs and distress, failed to ensure Mr. Stapleton received medical care.




18
     Taylor v. Riojas, 141 S.Ct. 52, at 54 (2020).


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138. It is per se inadequate medical care to elect not to provide any care to an inmate who is
    clearly exhibiting signs of intoxication and about whom you have strong circumstantial
    evidence may be intoxicated on a great number of substances,.
139. The acts of the Individual Defendants were unreasonable under the circumstances when
    viewed objectively.
140.The Individual Defendants were deliberately indifferent to the excessive risk of harm to
    Mr. Stapleton in their failures to act and in the actions they did take. Such acts and failures
    deprived Mr. Stapleton of and violated his clearly established constitutional rights and
    were not objectively reasonable.
141.The acts of the City of Progreso, TX, and the Individual Defendants clearly violated es-
    tablished rights under the Constitution and statutes. A reasonable person would have
    known that Mr. Stapleton’s constitutional rights of life and liberty and protection against
    cruel and unusual punishment were enshrined by the Fourteenth Amendment to the Con-
    stitution and that their actions were violative of such rights.
142.The acts of Defendants were salient in their wrongness and grossly offensive. Only an
    officer violating the law or who is plainly incompetent would perform such an act as not
    providing Mr. Stapleton his life-sustaining medical treatment. Thus, Defendants are liable
    to Plaintiff for the damages caused by their actions, which were the direct, proximate, and
    producing causes, in each Count alleged above respectively, of Mr. Stapleton’s death.

                                       X. DAMAGES

143. Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1-142
    above as though fully delineated below with respect to each cause of action.
144.As a result of Defendant’s statutory and constitutional violations, Plaintiffs have suffered
    serious and substantial damages and injuries for which they request the award of the fol-
    lowing categories of damages:
       a. Mental anguish, including emotional pain, torment, and suffering that Plaintiff ex-
           perienced from the death of her son;
       b. The pecuniary loss of care, maintenance, support, services, advice, counsel, and
           reasonable contributions of pecuniary value that Plaintiff has sustained and lost due
           to the death of her son.



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       c. The loss of society and companionship representing the positive benefits flowing
           from the love, comfort, companionship and society that Plaintiff has sustained in
           reasonable probability due to the death of her son;
       d. Loss of inheritance sustained by Plaintiff as a result of the death of her son;
       e. Physical pain and suffering experienced by JOSHUA STAPLETON for the dura-
           tion of his confinement leading up to his death, recoverable by his Estate;
       f. Mental anguish, including emotional pain, torment, and suffering that JOSHUA
           STAPLETON endured during his confinement leading up to his death, recoverable
           by his Estate;
       g. Burial expenses, if any, incurred by JOSHUA STAPLETON’s Estate; and
       h. These damages should be separately considered by the jury. A fair and impartial
           jury should listen to the evidence and award an amount for each element of damages
           that is fair and just, based on the evidence.
145. Plaintiff seeks monetary relief over $1,000,000 and for judgment of all the other relief to
    which they deem themselves entitled.
146. Plaintiff seeks to recover reasonable attorney’s fees and costs of court, and hereby re-
    quests the award of exemplary damages, pursuant to 42 U.S.C. § 1983.

                         XI. ATTORNEY’S FEES AND COSTS

147.If Plaintiff prevails in this action, by settlement or otherwise, Plaintiff is entitled to and
    hereby demands attorney’s fees under 42 U.S.C. §1988.


                               XII. RELIEF REQUESTED


148.The preceding factual statements and allegations are incorporated by reference.
149.For these reasons, Plaintiff prays for judgment against Defendants, any or all of them, for
    the following:
       a. Actual damages;
       b. Pre-judgment and post-judgment interest;
       c. Attorney’s fees and expenses;
       d. Punitive damages against the Individual Defendants;


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           e. Costs of Court; and
           f. Such other and further relief as the Court deems proper.


                                      XIII. JURY DEMAND


   150. Plaintiff respectfully requests a jury trial in this matter.


                                          XIV. PRAYER


WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that judgment be rendered against all
Defendants, for an amount in excess of the jurisdictional minimum of this Court. Plaintiffs further
pray for all other relief, both legal and equitable, to which they may show themselves justly enti-
tled. Plaintiffs respectfully request that Defendants be cited to appear and answer herein, and that
upon final trial thereof, the Court award the relief against all Defendants, jointly and severally.



                                                       Respectfully Submitted,

                                                       WEBB CASON & MANNING, P.C.
                                                       710 Mesquite Street
                                                       Corpus Christi, Texas 78401
                                                       Telephone:     (361) 887-1031
                                                       Facsimile:     (361) 887-0903

                                                       ____________________________
                                                       MATTHEW S. MANNING
                                                       State Bar No.: 24075847
                                                       General Correspondence Email:
                                                       matt@wcctxlaw.com
                                                       PARKER S. WEBB
                                                       State Bar No.: 24085648
                                                       General Correspondence Email:
                                                       parker@wcctxlaw.com
                                                       CHARLES C. WEBB, JR.
                                                       State Bar No. 21039500
                                                       General Correspondence Email:
                                                       charlie@wcctxlaw.com
                                                       BENNY M. CASON
                                                       State Bar No. 03969250



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                                     General Correspondence Email:
                                     benny@wcctxlaw.com
                                     PATRICK L. BEAM
                                     State Bar No.: 01955560
                                     General Correspondence Email:
                                     serviceplb@pbeamlaw.com
                                     STEPHEN J. CHAPMAN
                                     State Bar No.: 24001870
                                     General Correspondence Email:
                                     steve@wcctxlaw.com
                                     * E-Service Email: service@wcctxlaw.com
                                     *E-Service is only accepted at the above
                                     designated e-service e-mail address.
                                     ATTORNEYS FOR PLAINTIFFS




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